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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                )
                                        )
                    v.                  )             Case No. 19-CR-449
                                        )
KENNETH W. RAVENELL, et al.,            )             FILED UNDER SEAL
                                        )
      Defendants.                       )


      REPLY TO GOVERNMENT’S OPPOSITION TO JOSHUA TREEM’S
       LETTER MOTION TO MODIFY THE PROTECTIVE ORDER

      The government claims that Joshua Treem has not shown good cause to modify

the protective order because:

      (1) allowing Mr. Treem and his co-defendants to coordinate their defense and

allowing Mr. Treem to obtain relevant evidence that witnesses—his co-defendants

and alleged co-conspirators—are willing to provide would “defeat Rule 16’s reciprocal

discovery requirements”; and

      (2) allowing Mr. Treem, an experienced attorney with an unblemished career,

to have access to a video recording of the interview of R.B., which has been filed under

seal as an exhibit in this case, would endanger the safety of R.B. whose identity as a

cooperator is scheduled to be openly discussed in less than a month’s time.

      Whatever interest the Court found in imposing the protective order on March

19, 2021, that interest must now give way to Mr. Treem and his co-defendants’ Fifth

and Sixth Amendment right to prepare a defense.
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A.    Because the protective order impedes Mr. Treem and his
      codefendants’ ability to prepare their defense, good cause exists
      requiring modification of the protective order.
      Ample good cause mandates modifying the protective order to allow Mr. Treem

and his co-defendants to obtain relevant evidence from each other to prepare a

defense. The government views the requested modification as an “end run” around

Mr. Treem’s reciprocal discovery obligations. However, as Mr. Treem has maintained

throughout this case, the reason he did not request broad discovery was to avoid

becoming inundated with discovery that would have nothing to do with the

government’s case against him. He could not afford the cost nor the burden of hosting

an immense amount of data largely irrelevant to the charges against him

      Now, less than a month before trial, the prejudice to Mr. Treem from

constraints on his ability to obtain relevant evidence is very real. He has a

constitutional right to seek and obtain relevant evidence from willing witnesses—

namely his co-defendants, Messrs. Gordon and Ravenell, who are alleged to be his co-

conspirators. See United States v. Ebrahimi, 137 F. Supp. 3d 886, 887 (E.D. Va. 2015)

(“[T]he right of the defense to have access to witnesses in a criminal case should be

unfettered and free from government intervention.”) (citation omitted) see also Byrnes

v. United States, 327 F.2d 825, 832 (9th Cir. 1964) (“It is true that any defendant has

the right to attempt to interview any witness he desires.”). Here, the witnesses and

their counsel are all willing. What restrains them is the order of this court. There is

nothing in Rule 16 that says if Mr. Treem exercises a right that he has under that

rule, he thereby forfeits his right to due process and the effective assistance of

counsel. Yet that is the effect of the position that the government is urging the Court

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to adopt. See Chambers v. Mississippi, 410 U.S. 284, 302 (1973) (“Few rights are more

fundamental than that of an accused to present witnesses in his own defense.”);

Strickland v. Washington, 466 U.S. 688, 690-91 (1984) (finding counsel has a

constitutional duty to investigate and interview witnesses because the provision of

effective legal assistance is contingent upon a thorough factual investigation); Dennis

v. United States, 384 U.S. 855, 873 (1966) (“In our adversary system for determining

guilt or innocence, it is rarely justifiable for the prosecution to have exclusive access

to a storehouse of relevant facts.”).

      Conflicts between the government’s alleged interest in preventing an “end run”

around reciprocal discovery obligations and Mr. Treem’s Fifth and Sixth Amendment

right to interview witnesses and prepare a defense, should be resolved in favor of Mr.

Treem’s constitutional rights. See Geders v. United States, 425 U.S. 80, 91 (1976) (“To

the extent that conflict remains between the defendant's right to consult with his

attorney during a long overnight recess in the trial, and the prosecutor's desire to

cross-examine the defendant without the intervention of counsel, with the risk of

improper "coaching," the conflict must, under the Sixth Amendment, be resolved in

favor of the right to the assistance and guidance of counsel.”) (citing Brooks v.

Tennessee, 406 U.S. 605 (1972)).

      The protective order constrains Mr. Treem’s access to Brady material. The

government states in its opposition that “the Defendants’ repeated claims that the

Government has not [complied with the obligation imposed by Brady v. Maryland]

have all been rejected by the Court because they have been meritless. In short, there



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is no dispute for the Court to resolve concerning Brady at this point.” (ECF 400 at 5).

The Court’s decision to deny an evidentiary hearing requested by defendants was

based on its finding that the alleged Brady violations were too speculative, (ECF 361

at 17). While the Court did not find that the government had withheld Brady

material, neither did the Court find that the government had produced all Brady

material. And that is the point of Mr. Trout’s letter of November 5, 2021. If it turns

out that the government has not turned over all Brady material to Mr. Treem—and

Mr. Treem’s co-defendants insist that they have received such Brady material—then

the protective order’s isolation of Mr. Treem from information he is entitled to have

will unquestionably prejudice Mr. Treem.

      Mr. Treem’s Fifth and Sixth Amendment right to obtain relevant evidence from

willing witnesses, as well as any Brady material that the government has neglected

to produce directly to Mr. Treem, provides good cause to modify the protective order.

B.    Mr. Treem is entitled to receive copies of filings made in his case.

      Even under the existing protective order, Mr. Treem, like all defendants, is

entitled to copies of filings made in his case. Federal Rule of Criminal Procedure

49(a)(1) states: “WHAT IS REQUIRED. Each of the following must be served on

every party: any written motion (other than one to be heard ex parte), written notice,

designation of the record on appeal, or similar paper.” (emphasis added).

      The government states that filing the video recording of Mr. Treem’s interview

of R.B. “does not change the terms of the protective order or downgrade those items

from ‘protected information’ to unprotected information.” (ECF 400 at 6). The



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government cites no language in the protective order that prohibits defendants from

accessing documents filed in their case, because the protective order contains no such

restriction.

       The government relies on Rule 16(d), which allows the court to issue protective

orders regulating discovery, and says it is bizarre that counsel for Mr. Treem would

think that his client could be provided with an exhibit to a court filing, if that exhibit

also happened to be a document provided in discovery. However, Rule 16 is not the

applicable rule for protective orders that limit remote access to documents filed in a

criminal case. Rule 49.1 governs privacy protection for filings made with the Court,

not Rule 16. Rule 49.1(e) governs protective orders that limit access to filings made

with the Court. It provides that “[f]or good cause, the court may by order in a case:

(1) require redaction of additional information; or (2) limit or prohibit a nonparty’s

remote electronic access to a document filed with the court.” Id. (emphasis added).

The rule does not authorize the Court to enter protective orders restricting a

defendant’s remote access to documents filed in a criminal against him, and the

protective order in this case, issued pursuant to Rule 16, does not impose any such

restriction.

       Apart from the absence of any legal authority for the government’s position,

many reasons support Mr. Treem having possession less than a month before trial of

key evidence that the government will seek to use against him. The government

believes it is enough to say, the defendants are accused of obstruction, and claim that

the defendants have an “alarming” attitude about witness safety.



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       Here are the facts:

       1.      R.B.’s actual name has been widely publicized in the media, and it is

unrealistic to think that anyone who is paying attention would not know he is a cooperator.

       2.      Mr. Treem, while still representing Mr. Ravenell, knew at least three years

ago that R.B. had become a cooperator. There is no evidence that Mr. Treem has done

anything that put R.B. at risk.

       3.      Since February of this year, when Mr. Treem’s counsel began working on

pretrial motions, Mr. Treem has been in possession of tangible things (such as drafts of

motions for review) that revealed R.B.’s status as a cooperator, and as is his right, Mr. Treem

has received both the defendants’ filings under seal and the government’s filings under seal.

There is no evidence that Mr. Treem has violated the seal order or done anything with those

tangible things that put R.B. at risk.

       4.      The defendants in this case have not argued for public proceedings because

they want to publicize R.B. as a cooperator. They have argued for public proceedings because

they have a Sixth Amendment right not only to a public trial but to a public airing of

important pre-trial proceedings that could be dispositive. See generally, Waller v. Georgia,

467 U.S. 39 (1984). When the government brings a criminal case, it should implement a plan

at the outset for any witness security issues, and that plan should take account of a

defendant’s Sixth Amendment right to public proceedings and the public’s First Amendment

right to know about judicial proceedings. The government’s plan for witness security should

not include abridgment of a defendant’s and the public’s constitutional rights.

       5.      While the government insists it is enough to say that this is an obstruction

case, the actual evidence in this case quite clearly shows that when R.B. urged Mr. Treem to




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obstruct justice by deleting or removing information from a laptop—presumably at the

prompting of the government—Mr. Treem flatly refused.

       6.       We are now less than a month from the scheduled trial in the superseding

indictment, and eighteen months after Mr. Ravenell’s original scheduled trial date. This

raises an obvious question: Is the government telling the court that it has done nothing since

September 2019 to secure the safety of the witness and that it is justified in waiting until the

last possible moment before trial to take steps to secure R.B.’s safety? Or is the government’s

position nothing more than an effort to make it more difficult for Mr. Treem to defend

himself?


                                      CONCLUSION

       For the foregoing reasons, Mr. Treem respectfully requests that the Court

modify the protective order to provide that nothing in the protective order shall be

construed to limit a) Mr. Treem and his counsel’s ability to obtain relevant evidence

in the case, including relevant evidence in the possession of his co-defendants, or b)

Mr. Treem’s access to or possession of all filings made in the case, including any

exhibits filed in this case, whether or not filed under seal with the court.



                                    Respectfully submitted,

                                    SCHERTLER ONORATO MEAD & SEARS, LLP
                                    /s/Robert P. Trout
                                    Robert P. Trout, Bar No. 01669
                                    Noah J. Cherry, VA Bar No. 95726
                                    901 New York Ave., NW, Suite 500
                                    Washington, DC 20006
                                    Telephone: (202) 675-4410
                                    Facsimile: (202) 628-4177
                                    rtrout@schertlerlaw.com

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                     /s/_Daniel F. Goldstein
                     Daniel Goldstein, Bar No. 01036
                     131 Rte 9A
                     Spofford, NH 03462
                     Telephone: (410) 218-8537
                     dan@gold-stein.com

                     Attorneys for Joshua Treem




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                          CERTIFICATE OF SERVICE

     I hereby certify that on the 12th day of November 2021, I caused a copy of
Joshua Treem’s Reply to Government’s Opposition to Joshua Treem’s Letter Motion
to Modify the Protective Order to be served upon counsel for the United States of
America via electronic mail.


                                     /s/ Robert P. Trout
                                     Robert P. Trout
                                     Attorney for Joshua R. Treem




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